       Case 2:13-cr-00147-RHW   ECF No. 43   filed 12/11/13   PageID.98 Page 1 of 2




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11                   UNITED STATES DISTRICT COURT
12                  EASTERN DISTRICT OF WASHINGTON

13
     United States of America,
14
                                Plaintiff,        No. CR-13-147-RHW-2
15
16        v.
                                                  Order Granting Unopposed
17   Shannon Stiltner,                            Motion to Modify Release
                                                  Conditions
18                         Defendant.
19
20
          Before the Court is Shannon Stiltner’s Unopposed Motion to
21
22   Modify Release Conditions, ECF No. 42. After reviewing the submitted
23
     material, and relevant authority, the Court is fully informed and hereby
24
     grants the motion.
25


     Order: 1
       Case 2:13-cr-00147-RHW   ECF No. 43   filed 12/11/13   PageID.99 Page 2 of 2




 1        Accordingly, IT IS HEREBY ORDERED: Ms. Stiltner’s Unopposed
 2
     Motion to Modify Release Conditions, ECF No. 42 is GRANTED.
 3
          IT IS SO ORDERED. The District Court Executive is directed to
 4
 5   enter this Order and distribute copies to counsel.
 6
          Dated this 11th day of December, 2013.
 7
 8                                               s/Robert H. Whaley
 9                                              Hon. Robert H. Whaley
                                                Senior U.S. District Judge
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     Order: 2
